 Case: 0:09-cr-00013-DLB-EBA            Doc #: 122 Filed: 05/20/11           Page: 1 of 4 - Page
                                            ID#: 307



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  NORTHERN DIVISION
                                       ASHLAND

CRIMINAL ACTION NO. 09-13-DLB-1

UNITED STATES OF AMERICA,                                                              PLAINTIFF,

V.                            REPORT AND RECOMMENDATION

YVETTE LYNN DUNN,                                                                    DEFENDANT.

       This matter came before the Court for an initial appearance on a report of supervised

release violations dated April 29, 2011. At the hearing, the Defendant was represented by

Michael Fox, Esq., and the United States was represented by Chris Nason, Esq. United States

Probation Officer Allison Biggs was also present. The Defendant, after being advised of her

constitutional rights and right to a hearing on the alleged violations, expressed her desire to

stipulate to the stated violation. The Court reviewed the violation with the Defendant, as well as

the maximum penalties and the guideline range of imprisonment. After reviewing this

information, the Court performed a colloquy, consistent with the requirements of Rule 11, after

which the Defendant stipulated to the violation. The Defendant then waived her right of

allocution before Judge David Bunning, and consented to the exercise of that right before the

undersigned. Having heard the statements on behalf of the United States, the Defendant, and

having considered the report and recommendation from United States Probation Officer Allison

Biggs, the Court makes the following proposed Findings of Fact and Conclusions of Law:

                                       FINDINGS OF FACT

       (1) On April 1, 2011, Yvette Lynn Dunn was asked by a man named “Charlie” to buy

items for him at K-Mart and Ralph’s Food Fair in Grayson, Kentucky. To accomplish this task

“Charlie” gave Ms. Dunn $400.00. On the same day, at approximately 6:02 p.m., Grayson
 Case: 0:09-cr-00013-DLB-EBA             Doc #: 122 Filed: 05/20/11          Page: 2 of 4 - Page
                                             ID#: 308



Police Department Office W. Boggs answered a call at Ralph’s Food Fair that a male subject had

confronted Dunn at her vehicle and taken her wallet containing $590.00. Video surveillance

from another business, James Family Outfitters, showed that no crime occurred. Dunn was

advised of her rights and provided a statement that she falsely reported the incident in an effort

to steal “Charlie’s” money, in order to pay her electric bill.

                                    CONCLUSIONS OF LAW

       Pursuant to 18 U.S.C. § 3583(e)(2), the Defendant’s stipulation establishes, by a

preponderance of the evidence, that she has violated the following condition of supervised

release:

       (1) The Defendant shall not commit another federal, state, or local crime.

                                     RECOMMENDATION

       It should be noted at the outset that the United States, the Defendant, and the USPO in

attendance all recommend to the Court that Dunn not be sentenced to a period of incarceration.

In making a recommendation regarding the imposition of an appropriate sentence, the

undersigned has in addition considered the following factors set forth in 18 U.S.C. § 3553:

       (I) The nature and circumstances of the offense. The admitted violation is indeed

serious as it involved stealing money from another, and making a false report of a crime to law

enforcement. Not only did this potentially deprive “Charlie” of the items he requested Dunn

purchase for him, it also required time and resources of the Grayson Police Department to

investigate a fictitious crime. However, the Defendant promptly and truthfully admitted to

Officer Biggs, her violation of the terms of supervised release. In addition, she fully admitted

her violation to the undersigned and sincerely expressed remorse for her actions.


                                                  2
 Case: 0:09-cr-00013-DLB-EBA             Doc #: 122 Filed: 05/20/11           Page: 3 of 4 - Page
                                             ID#: 309



       (ii) The history and characteristics of the Defendant. The defendant is clearly

motivated to succeed following in life to become a responsible, productive member of civilized

society, as is reflected by the fact that Dunn has taken every opportunity to improve her life,

such as by obtaining her G.E.D., and completing a number of career development courses.

       (iii) The need for the sentence to reflect the seriousness of the offense, to promote

respect for the law, to provide just punishment for the offense; to afford adequate

deterrence to future conduct; and to protect the public from further crimes of the

Defendant. Although the Defendant contends that her violation occurred due to her need for

money to pay her electric bill, the Court finds the violations to be serious as it involved the theft

of currency, and the false report of a crime. However, the Court also believes that the sentence,

as jointly recommended by the parties and the USPO in attendance, is sufficient, but not greater

than necessary to satisfy the statutory considerations set out above.

       (iv) In the instant matter, the most serious violation is a Grade C violation. In light of

the Defendant’s criminal history category III, the revocation guidelines call for a range of

imprisonment from five (5) to eleven (11) months. The maximum term of imprisonment which

can be imposed upon revocation is24 months, pursuant to 18 U.S.C. § 3583(e)(3).



IT IS THEREFORE RECOMMENDED:

       (1) That the Defendant be found in violation of the terms of supervised release as set

forth above;

       (2) That the Defendant be continued on the current terms of supervised release.

       Specific objections to this Report and Recommendation must be filed within fourteen


                                                  3
 Case: 0:09-cr-00013-DLB-EBA             Doc #: 122 Filed: 05/20/11           Page: 4 of 4 - Page
                                             ID#: 310



(14) days from the date of service thereof or further appeal is waived. 28 U.S.C. § 636(b)(1)(C);

United States v. Campbell, 261 F.3d 628, 632 (6th Cir. 2001); Bituminous Cas. Corp. v. Combs

Contracting Inc., 236 F. Supp. 2d 737, 749-750 (E.D. Ky. 2002). General objections or

objections that require a judge’s interpretation are insufficient to preserve the right to appeal.

Cowherd v. Million, 380 F.3d 909, 912 (6th Cir. 2004); Miller v. Currie, 50 F.3d 373, 380 (6th

Cir. 1995). A party may file a response to another party's objections within fourteen (14) days

after being served with a copy thereof. Fed. R. Crim. P. 59(b)(2).

       Signed May 20, 2011.




                                                  4
